556 F.2d 1178
    John C. CHILDS et al., Plaintiffs,Lester Matz and Jerome B. Wolff, Appellants,v.Paul R. SCHLITZ, Clerk, United States District Court for theDistrict of Maryland, Individually, and in hisofficial capacity, et al., Appellees.
    No. 76-2417.
    United States Court of Appeals,Fourth Circuit.
    Argued April 7, 1977.Decided June 22, 1977.
    
      Paul F. Strain, Baltimore, Md.  (Arnold M. Weiner and J. Frederick Motz, Baltimore, Md., on brief) for appellants.
      Robert J. Aumiller, Asst. Atty. Gen., Baltimore, Md.  (Francis B. Burch, Atty. Gen. Jon F. Oster, Deputy Atty. Gen. of Md., Baltimore, Md., on brief) for appellees.
      Before WINTER, BUTZNER and HALL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Given immunity under 18 U.S.C. § 6002 and required to testify in a criminal case, Lester Matz and Jerome B. Wolff, both professional engineers, asserted in the district court that the Maryland Board of Registration for Professional Engineers and Professional Land Surveyors could not properly consider such testimony in determining whether to revoke their licenses to practice their profession.  To do so, they assert, would violate their rights under the fifth amendment and the protection afforded by the federal immunity statute.
    
    
      2
      In a well reasoned opinion, the district court correctly rejected plaintiffs' contentions.  Childs v. McCord, 420 F.Supp. 428 (D.Md.1976).  We adopt the opinion as our own and affirm the judgment.
    
    
      3
      AFFIRMED.
    
    